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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

               Plaintiff,
                                                               Case No. 25-cv-11472
        v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

               Defendants.


              SUPPLEMENTAL DECLARATION OF MAUREEN MARTIN

       I, Maureen Martin, declare as follows:

       1.      I am the Director of Immigration Services in the Harvard International Office

(“HIO”) at Harvard University. This declaration supplements the declaration I previously

submitted in this case, signed May 22, 2025.

       2.      I have personal knowledge of the contents of this supplemental declaration or have

knowledge of the matters based on my review of information and records gathered by Harvard

personnel, and I could testify to these matters.

       3.      On May 22 at 12:45 PM, I received a letter, addressed to me, from DHS Secretary

Kristi Noem, informing me that Harvard’s Student and Exchange Visitor Program (“SEVP”)

certification had been revoked, effective immediately.

       4.      On May 23 at 9:27 AM, Harvard filed a motion for a temporary restraining order

to enjoin the government from implementing, instituting, maintaining, or giving effect to the

revocation of Harvard’s SEVP certification, or from giving any force or effect to the May 22

communication from Secretary Noem (the “Revocation Notice”).



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        5.      The Court granted the temporary restraining order on the same day, at 11:41 AM.

        6.      Following the Revocation Notice, Harvard and its visa holders began facing

immediate repercussions.

                            Impact on Harvard and Its Visa Holders

        7.      As a result of the Revocation Notice, students and faculty alike have expressed

profound fear, concern, and confusion. Faculty members and administrators have been inundated

with questions from current international students and scholars about their status and options.

        8.      Many international students and scholars are reporting significant emotional

distress that is affecting their mental health and making it difficult to focus on their studies. Some

are afraid to attend their own graduation ceremonies this week out of fear that some immigration-

related action will be taken against them. Some have cancelled upcoming international travel plans

to conduct academic research or see their families in light of the risk that they might not be

admitted back into the United States. Some are concerned that losing their visas could mean being

forced to separate from partners who live in Cambridge. Some fear being compelled to return

abruptly to home countries where they might not be safe due to ongoing conflicts or where they

could face persecution based on their identity or background.

        9.      At least half a dozen foreign consulates in the United States have reached out to

Harvard seeking information about how the Revocation Notice affects the welfare of students and

scholars from their countries who are enrolled at Harvard.

        10.     Because of the Revocation Notice, currently enrolled international students are

reconsidering their futures at Harvard. Too many international students to count have inquired

about the possibility of transferring to another institution. At least three currently enrolled domestic




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students have expressed serious interest in transferring rather than attend an educational institution

without international students.

       11.     Even for students who wish to transfer, however, that option may not be available

to them or may harm their academic career. At the undergraduate level, for example, many transfer

deadlines have already passed for the upcoming fall term. At the graduate and PhD level, transfer

options can be limited given the small sizes of programs and the specialized fields that many

students at Harvard pursue. Moreover, these students may lose competitively awarded research

grants and other funding sources if they transfer. Transfer is particularly challenging for PhD

students who have completed their requirements other than finishing their dissertations, and these

students may be required to backtrack or start again even if they can secure a transfer.

       12.     The Revocation Notice is also hurting Harvard’s ability to attract and enroll

international students and scholars going forward, particularly in STEM fields. As one example,

an incoming international student about to begin a graduate program in physics at Harvard has

decided to transfer to another U.S. institution given the uncertainty surrounding Harvard’s ability

to welcome international students.

       13.     Dozens of incoming international students have asked about deferring their

admission or obtaining Harvard’s assistance in enrolling elsewhere. I am aware of at least one

international student who has officially deferred admission to a PhD program at Harvard Medical

School for visa-related reasons, and another incoming student to Harvard Law School who has

withdrawn for visa-related reasons.

       14.     The Revocation Notice is also hurting Harvard’s ability to enroll domestic students.

For example, an incoming domestic student at Harvard Business School requested a deferral




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following the Revocation Notice, stating that the educational experience would be different

without any international students.

       15.     In addition, administrators are already receiving emails from prospective

international applicants who are worried about whether they will be able to apply to Harvard for

the 2026-27 academic year.

       16.     At the same time, news coverage and public statements indicate that universities in

Europe and Asia are already taking the Revocation Notice as an opportunity to recruit talented U.S.

and international students who would otherwise pursue their studies at Harvard. This is especially

true for international students who have already been accepted into STEM programs at Harvard.

       17.     As one example, on May 23, the Hong Kong University of Science and Technology

(HKUST) issued a press release announcing “unconditional offers, streamlined admission

procedures, and academic support” (bold in original) for current and incoming international

students at Harvard. 1 The press release promoted HKUST as a leader in data science and artificial

intelligence and said: “A dedicated team has been established to assist students with admissions,

credit transfers, housing, and visa logistics. Interested individuals are encouraged to contact hkust-

Harvard@ust.hk for personalized guidance.”

 Recent Interactions Between Visa Holders or Visa Applicants and the U.S. Government

       18.     Harvard visa holders and their dependents experienced significant consequences

even within the few hours when the Revocation Notice was in effect last week.

       19.     Within hours of the Revocation Notice issuing, I began to receive reports that

DHS’s Customs and Border Protection at Boston Logan International Airport was requiring



1 Press Release, The Hong Kong University of Science and Technology, HKUST Opens Doors to

Harvard Students Amid Global Academic Shifts (May 23, 2025), https://hkust.edu.hk/news/hkust-
opens-doors-harvard-students-amid-global-academic-shifts.


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Harvard visa holders and their dependents to undergo secondary processing, a more detailed

inspection to verify admissibility. Individuals subject to secondary processing during this

timeframe included a visa holder’s wife and one-year-old child, as well as a former head of state

who is a current fellow at the Harvard Kennedy School.

       20.     The Revocation Notice has also affected admitted international students who have

not yet matriculated and visiting scholars who have not yet started their research.

       21.     On the morning of May 23, HIO began to receive reports of incoming international

students and scholars who are scheduled to travel to the United States to begin studies at Harvard

in the fall who were told by U.S. embassy officials that their visa applications had been denied. I

am personally aware of at least ten international students or scholars whose visa applications were

refused for “administrative processing” immediately following the Revocation Notice.

       22.     For example, an incoming student scheduled to start a PhD program in Government

in the fall reported that on May 23, a consular officer at the U.S. embassy in São Paulo told him

that his visa application was “refused” for “administrative processing.” The consular officer

explained that she was awaiting further instructions from the Department of State and could not

answer the student’s follow-up questions about whether it would be possible to obtain visa

approval if the Revocation Notice were enjoined or withdrawn. After this incident, the incoming

student canceled his travel plans so that he could stay in São Paulo and address the situation

regarding his visa.

       23.     Likewise, an incoming visiting research scholar at the Harvard School of Dental

Medicine visited the U.S. embassy in Prague on May 23 to obtain a J-1 visa to travel to the United

States. A consular officer at the embassy informed this scholar that her visa was refused due to the

Revocation Notice. According to the consular officer, because of the Revocation Notice issued on




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May 22, the embassy was required to revoke visa applications for Harvard University starting the

morning of May 23. The officer gave the scholar a slip that stated she had “been found ineligible

for a nonimmigrant visa based on section 221(g) of the U.S. Immigration and Nationality Act

(INA).” The slip said, “In your case the following is required,” and the consular officer checked

the box marked “Other” and handwrote, “SEVP Revocation / Harvard.”

       24.     On the same day, another incoming student in the LL.M. program at Harvard Law

School visited the U.S. embassy in Bern to obtain his F-1 visa, as needed to travel to the United

States for fall semester. He plans to leave his current job to start his studies in the United States.

The consular officer informed the student that the officer could not issue visas for Harvard students

at this time and gave the student a slip indicating that the student’s application “has been refused

under § 221(g).”

       25.     Likewise, an incoming student to a PhD program at Harvard Medical School

reported that he attended his visa interview on May 23 at the U.S. embassy in Milan and was given

a section 221(g) slip that said his visa application was “refused” for “administrative processing.”

The consular officer explained that administrative processing was required given “the current

situation.”

       26.     Other incoming international students whose visa applications had already been

approved received notices that their visas had been revoked.

       27.     For example, an incoming Harvard College student who had just been approved at

the U.S. embassy in Madrid on May 22 received a notice on May 23 that her visa application had

been refused under section 221(g) because Harvard’s SEVP certification had been revoked before

the visa could be printed. The notice said the student had a year to adjust her application by

providing documentation from a different institution.




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       28.     Another incoming student from the United Kingdom is scheduled to start in the

Graduate School of Arts and Sciences in September. He reported that at his visa appointment on

May 16, a consular officer took his passport and told him that his visa application was successful.

But on May 23, his passport was returned with a section 221(g) slip stating that his “case is refused

based DHS terminating Harvard’s SEVP certification [sic].”

       29.     Although HIO has heard from some of these visa applicants that they were

contacted by U.S. officials following entry of the Court’s temporary restraining order and invited

to submit additional documentation, my current understanding is that the visa applications that

were refused or revoked following the Revocation Notice have not yet been approved or reinstated.

       Executed this 28th day of May, 2025, in Cambridge, Massachusetts.

                                                      /s/ Maureen Martin
                                                      Maureen Martin




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